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 Frank S. Hedin (SBN 291289)
 HEDIN HALL LLP
 1395 Brickell Ave, Suite 900
 Miami, Florida 33131
 Telephone: (305) 357-2107
 Facsimile: (305) 200-8801
 Email: fhedin@hedinhall.com
 Counsel for Plaintiff and the Putative Class
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO. ____________


 RACHEL SHAPIRO, individually and on            CLASS ACTION
 behalf of all others similarly situated,
                                                (JURY TRIAL DEMANDED)
            Plaintiff,
 v.
 RADIUS GLOBAL SOLUTIONS LLC,
            Defendant.


                                CLASS ACTION COMPLAINT

       Plaintiff Rachel Shapiro, individually and on behalf of all others similarly situated,
 complains and alleges as follows based on personal knowledge as to herself, on the
 investigation of her counsel, and on information and belief as to all other matters.
 Plaintiff believes that substantial evidentiary support will exist for the allegations set
 forth in this complaint, after a reasonable opportunity for discovery.
                                   NATURE OF ACTION

       1.      Plaintiff brings this Class Action Complaint for legal and equitable remedies
 resulting from the illegal actions of Radius Global Solutions LLC in initiating numerous
 unsolicited telephone calls to her cellular device and the cellular devices of numerous
 other individuals across the country, in clear violation of the Telephone Consumer
 Protection Act, 47 U.S.C. § 227 (“TCPA”).




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                                JURISDICTION AND VENUE

        2.      The Court has subject-matter jurisdiction over this action pursuant to 28
 U.S.C. § 1331 and 47 U.S.C. § 227.
        3.      Personal jurisdiction and venue are proper in this district because Plaintiff
 resides in this district; because Defendant is registered to do business in Florida and
 within this district; because Defendant maintains an office in Florida and engages in
 substantial business in Florida and throughout this district; and because Plaintiff received
 Defendant's unsolicited telephone calls (which it directed into this district) while she was
 physically present in this district, and thus her claims alleged herein arose in substantial
 part in this district.
                                          PARTIES

        4.      Plaintiff is an individual and a “person” as defined by 47 U.S.C. § 153(39).

 Plaintiff is, and at all times mentioned herein was, a citizen and resident of Fort
 Lauderdale, Florida.
        5.      Defendant Radius Global Solutions LLC is a “person” as defined by 47 U.S.C.
 § 153(39).   Defendant maintains, and at all times mentioned herein maintained, its
 corporate headquarters in Ambler, Pennsylvania. Defendant describes itself as a “leading
 provider of account recovery and debt collection, customer relationship management
 and healthcare revenue cycle management solutions.”1
                THE TELEPHONE CONSUMER PROTECTION ACT OF 1991

        6.      To address consumer complaints regarding certain telemarketing and debt-
 collection practices, Congress enacted the TCPA, 47 U.S.C. § 227, in 1991. The TCPA
 prohibits, inter alia, the making of any telephone call to a cellular telephone number
 using a “prerecorded or artificial voice” or an “automatic telephone dialing system” (an



 1
        “About    Us,”    Radius     Global     Solutions,     LLC,         available     at
 https://www.radiusgs.com/about-us/ (last accessed April 18, 2019).
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 “autodialer” or “ATDS”) absent an emergency purpose or the “prior express consent” of
 the party called.
          7.    According to findings by the Federal Communication Commission (“FCC”),
 which is vested with authority to issue regulations implementing the TCPA, autodialed
 calls and calls made using an artificial or prerecorded voice are prohibited because
 receiving them is a greater nuisance and more invasive than live solicitation calls and
 they can be costly and inconvenient. The FCC also recognized that wireless customers
 are charged for such incoming calls whether they pay in advance or after the minutes
 are used.
          8.    Moreover, the transmission of unsolicited calls via an autodialer or by way
 of an artificial or prerecorded voice is distracting and aggravating to the recipient and
 intrudes upon the recipient’s seclusion.

          9.    Thus, to state a cause of action for violation of the TCPA, a plaintiff need only
 allege facts demonstrating that the defendant “called a number assigned to a cellular
 telephone service using an automatic dialing system or prerecorded voice.” Breslow v. Wells
 Fargo Bank, N.A., 857 F. Supp. 2d 1316, 1319 (S.D. Fla. 2012), aff’d, 755 F.3d 1265 (11th Cir.
 2014).
                     FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

          10.   Plaintiff is, and at all times mentioned herein was, the sole user of the

 cellular telephone number (***) ***-9127 (the “9127 Number”). The 9127 Number is, and
 at all times mentioned herein was, assigned to a cellular telephone service as specified
 in 47 U.S.C. § 227(b)(1)(A)(iii).
          11.   In or about January 2019, Plaintiff became caught in the cross hairs of one of
 Defendant’s automated calling campaigns aimed at collecting, on behalf of its various third-
 party clients, debts from consumers located across the United States.
          12.   On or about January 16, 2019, first at approximately 12:32 p.m. and then again
 at approximately 8:08 p.m., Defendant initiated or caused to be initiated, by itself or through
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 an intermediary or intermediaries, two unsolicited telephone calls to Plaintiff’s 9127
 Number.
        13.    Over the course of the following week, Defendant continued to bombard
 Plaintiff with unsolicited telephone calls to her 9127 Number, at all hours of the day.
        14.    On or about January 17, 2019, Defendant initiated or caused to be initiated, by
 itself or through an intermediary or intermediaries, at least two unsolicited telephone calls
 to Plaintiff’s 9127 Number.
        15.    On or about January 18, 2019, Defendant initiated or caused to be initiated, by
 itself or through an intermediary or intermediaries, at least two unsolicited telephone calls
 to Plaintiff’s 9127 Number.
        16.    On or about January 21, 2019, Defendant initiated or caused to be initiated, by
 itself or through an intermediary or intermediaries, at least two unsolicited telephone calls

 to Plaintiff’s 9127 Number.
        17.    On or about January 22, 2019, Defendant initiated or caused to be initiated, by
 itself or through an intermediary or intermediaries, at least one unsolicited telephone call
 to Plaintiff’s 9127 Number.
        18.    Whenever Plaintiff answered one of Defendant’s unsolicited telephone calls
 placed to the 9127 Number between on or about January 16 and on or about January 22,
 2019, Plaintiff was greeted with a prerecorded voice used by Defendant, followed by a

 long pause and finally a live representative or agent of Defendant.
        19.    On at least one such occasion when Plaintiff answered the phone and was
 connected to a live representative (after first being met with a long pause), the live
 representative or agent on the other end of the line identified himself as “Joseph from
 Radius Global Solutions” and asked for someone named “Robert.” Plaintiff responded by
 (1) kindly informing Defendant’s representative or agent named “Joseph” that he had
 reached the wrong number, and (2) requesting that Defendant please remove the 9127


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 Number from its outgoing call list, after explaining that she had been called numerous
 times by Defendant in its failed attempts to reach “Robert.”
        20.     Plaintiff was physically present in Fort Lauderdale, Florida when she received
 each of Defendant’s unsolicited telephone calls alleged herein.
        21.     Plaintiff is informed and believes, and thereupon alleges, that Defendant has
 over the past four (4) years regularly initiated or caused to be initiated, by itself or through
 an intermediary or intermediaries, unsolicited telephone calls using an automatic telephone
 dialing system or artificial or prerecorded voice to other individuals residing within this judicial
 district and the state of Florida, numerous of whom are members of the proposed Class
 defined below.
        22.     The sources of the unsolicited telephone calls that Defendant placed to the
 9127 Number included, without limitation, the telephone numbers (706) 739-4398, (706)

 739-4450, (706) 739-4501 and (706) 786-0551, each of which is a telephone number leased by
 Defendant or Defendant’s agent(s) or affiliate(s) and is used for operating Defendant’s
 outgoing telemarketing and solicitation campaigns for debt collection and customer
 relationship management purposes.
        23.     Because Plaintiff is alerted by her cellular device, by auditory and/or visual
 means, whenever she receives a telephone call, the unsolicited telephone calls that
 Defendant transmitted to Plaintiff’s cellular device were invasive and intruded upon

 Plaintiff’s seclusion upon receipt. Plaintiff became distracted and aggravated as a result
 of receiving Defendant’s invasive telephone calls.             Additionally, Plaintiff’s receipt of
 Defendant’s unsolicited telephone calls caused her to become concerned that an unknown
 third-party imposter had provided Defendant with the 9127 Number without her
 authorization, possibly in an attempt to steal her identity.
        24.     All telephone contact by Defendant or affiliates, subsidiaries, or agents of
 Defendant to Plaintiff’s 9127 Number and to the numbers of the members of the proposed


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 Class defined below occurred using an “automated telephone dialing system” and an
 “artificial or prerecorded voice” as defined by 47 U.S.C. § 227(b)(1)(A).
        25.    Defendant initiated its telephone calls to the 9127 Number and to the
 numbers of the members of the proposed Class defined below using an “automated
 telephone dialing system” and an “artificial or prerecorded voice” because its telephone
 calls were made from telephone numbers used to dial consumers en masse; because the
 frequency, character, and nature of the calls, including the electronically-recorded voice
 followed by a long pause with which Plaintiff was greeted upon answering each of the
 calls, was indicative of the use of an artificial or prerecorded voice; because Defendant’s
 dialing equipment constitutes or includes features substantially similar to a predictive
 dialer, inasmuch as it is capable of making numerous calls simultaneously (all without
 human intervention) at times of day when the recipients are “predicted” to answer and

 when both the recipients and Defendant’s representatives or agents will be available to
 take the call; and because the hardware and software used by Defendant to initiate such
 calls have the capacity to store, produce, and dial random or sequential numbers, or to
 receive and store lists of telephone numbers and to then dial such numbers, en masse,
 in an automated fashion and without human intervention.
        26.    And indeed, Defendant actually initiated the telephone calls at issue in this
 case to Plaintiff and all other unnamed Class members using an artificial or prerecorded

 voice and in an automated fashion and without human intervention, with hardware and
 software that received and stored lists of telephone numbers to be dialed and then dialed
 such numbers automatically.
        27.    None of Defendant’s telephone calls to the 9127 Number were initiated for
 an emergency purpose.
        28.    Plaintiff does not have, and has never had, any sort of business relationship
 with Defendant or with any of Defendant’s agents or affiliates. At no time has Plaintiff
 ever provided the 9127 Number to Defendant or to any of Defendant’s agents or affiliates.
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        29.    Neither Plaintiff nor any members of the proposed Class defined below
 provided their “prior express consent” to Defendant or any affiliate, subsidiary, or agent
 of Defendant to permit Defendant to initiated telephone calls to the 9127 Number or to
 any of the Class’s telephone numbers using an “automatic telephone dialing system” or
 an “artificial or prerecorded voice” within the meaning of 47 U.S.C. § 227(b)(1)(A).
                                    CLASS ALLEGATIONS

        30.    Class Definition. Plaintiff brings this civil class action on behalf of herself
 individually and on behalf of all other similarly situated persons as a class action
 pursuant to Federal Rule of Civil Procedure 23. The “Class” which Plaintiff seeks to
 represent is comprised of and defined as follows:

               All persons within the United States who, at any time between
               April 23, 2015 and the date of the Court’s order granting class
               certification, received one or more telephone call initiated by
               Defendant (or an agent or affiliate of Defendant) on a device
               assigned to cellular telephone service, without having
               provided Defendant (or any agent or affiliate of Defendant)
               prior express consent to be called at such number.
        31.    Defendant, its employees, and agents are excluded from the Class.
        32.    Plaintiff reserves the right to modify the definition of the Class (or add one
 or more subclasses) after further discovery.
        33.    Plaintiff and all Class members have been impacted and harmed by the
 acts of Defendant or its affiliates or subsidiaries.

        34.    This Class Action Complaint seeks injunctive relief and monetary damages.
        35.    This action may properly be brought and maintained as a class action
 pursuant to Federal Rule of Civil Procedure 23(a) and (b). This class action satisfies the
 numerosity,     typicality,   adequacy,   commonality,   predominance,     and   superiority
 requirements.
        36.    Upon application by Plaintiff’s counsel for certification of the Class, the
 Court may also be requested to utilize and certify subclasses in the interests of
 manageability, justice, or judicial economy.
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         37.   Numerosity. The number of persons within the Class is substantial, believed
 to amount to thousands of persons dispersed throughout the United States. It is,
 therefore, impractical to join each member of the Class as a named plaintiff. Further, the
 size and relatively modest value of the claims of the individual members of the Class
 renders joinder impractical. Accordingly, utilization of the class action mechanism is the
 most economically feasible means of determining and adjudicating the merits of this
 litigation.
         38.   Typicality. Plaintiff received at least one telephone call from Defendant
 without providing her “prior express consent” to receive such calls from Defendant
 within the meaning of the TCPA. Consequently, the claims of Plaintiff are typical of the
 claims of the members of the Class, and Plaintiff’s interests are consistent with and not
 antagonistic to those of the other Class members she seeks to represent. Plaintiff and all

 members of the Class have been impacted by, and face continuing harm arising out of,
 Defendant’s violations or misconduct as alleged herein.
         39.   Adequacy. As Class representative, Plaintiff has no interests adverse to, or
 which conflict with, the interests of the absent members of the Class, and is able to fairly
 and adequately represent and protect the interests of such a Class. Plaintiff has raised
 viable statutory claims of the type reasonably expected to be raised by members of the
 Class and will vigorously pursue those claims. If necessary, Plaintiff may seek leave to

 amend this Class Action Complaint to add additional Class representatives or assert
 additional claims.
         40.   Competency of Class Counsel. Plaintiff has retained and is represented by
 experienced, qualified, and competent counsel committed to prosecuting this action.
 Plaintiff’s counsel are experienced in handling complex class action claims, in particular
 claims brought under the TCPA and other consumer protection statutes.
         41.   Commonality and Predominance. There are well-defined common
 questions of fact and law that exist as to all members of the Class and predominate over
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 any questions affecting only individual members of the Class. These common legal and
 factual questions, which do not vary from Class member to Class member and may be
 determined without reference to the individual circumstances of any Class member,
 include (but are not limited to) the following:
               a) Whether Defendant or affiliates, subsidiaries, or agents of
                  Defendant initiated telephone calls to Plaintiff’s and Class
                  members’ cellular telephones;
               b) Whether such telephone calls were sent using an “automatic
                  telephone dialing system” or “artificial or prerecorded voices”;
               c) Whether Defendant or affiliates, subsidiaries, or agents of
                  Defendant can meet their burden to show Defendant obtained
                  “prior express consent” within the meaning of the TCPA to

                  initiate the telephone calls complained of, assuming such an
                  affirmative defense is raised;
               d) Whether Defendant or affiliates, subsidiaries, or agents of
                  Defendant should be enjoined from engaging in such conduct
                  in the future.
        42.    Superiority. A class action is superior to other available methods for the
 fair and efficient adjudication of this controversy because individual litigation of the

 claims of all Class members is impracticable. Even if every member of the Class could
 afford to pursue individual litigation, the Court system could not. Individualized litigation
 would also present the potential for varying, inconsistent or contradictory judgments,
 and would magnify the delay and expense to all parties and to the court system by
 causing multiple trials of the same factual issues. By contrast, the maintenance of this
 action as a class action, with respect to some or all of the issues presented herein,
 presents few management difficulties, conserves the resources of the parties and the
 court system and protects the rights of each member of the Class. Plaintiff anticipates
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  no difficulty in the management of this action as a class action. Class wide relief is
  essential to compel compliance with the TCPA. The interest of Class members in
  individually controlling the prosecution of separate claims is small because the statutory
  damages in an individual action for violation of the TCPA are small. Management of
  these claims is likely to present significantly fewer difficulties than are presented in many
  class actions because the telephone calls at issue are all automated and sent using
  artificial or prerecorded voices and the Class members, by definition, did not provide the
  prior express consent required under the statute to authorize such telephone calls to be
  made to their cellular telephones. The Class members can be readily located and notified
  of this class action through Defendant’s records and, if necessary, the records of cellular
  telephone providers.
         43.    Additionally, the prosecution of separate actions by individual Class

  members would create a risk of multiple adjudications with respect to them that would,
  as a practical matter, be dispositive of the interests of other members of the Class who
  are not parties to such adjudications, thereby substantially impairing or impeding the
  ability of such nonparty Class members to protect their interests. The prosecution of
  individual actions by Class members could further establish inconsistent results and/or
  establish incompatible standards of conduct for Defendant.
         44.    Defendant or any affiliates, subsidiaries, or agents of Defendant have acted

  on grounds generally applicable to the Class, thereby making final injunctive relief and
  corresponding declaratory relief with respect to the Class as a whole appropriate.
  Moreover, on information and belief, Plaintiff alleges that the TCPA violations complained
  of herein are substantially likely to continue in the future if an injunction is not entered.




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                                   CLAIM FOR RELIEF
                              VIOLATION OF THE TELEPHONE
                               CONSUMER PROTECTION ACT
                                     (47 U.S.C. § 227)
         45.    Plaintiff incorporates by reference the foregoing paragraphs of this Class
  Action Complaint as if fully stated herein.
         46.    The foregoing acts and omissions constitute violations of the TCPA by
  Defendant, including but not limited to violations of 47 U.S.C. § 227(b)(1).
         47.    As a result of Defendant’s violations of the TCPA, Plaintiff and all Class
  members are entitled to, and do seek, injunctive relief prohibiting such conduct violating
  the TCPA in the future pursuant to 47 U.S.C. § 227(b)(3).
         48.    As a result of Defendant’s violations of the TCPA, Plaintiff and all Class
  members are also entitled to, and do seek, an award of $500.00 in statutory damages for
  each violation of the TCPA (or $1,500.00 for any such violations committed willfully or

  knowingly) pursuant to 47 U.S.C. § 227(b)(3).
         49.    Plaintiff and Class members also seek an award of attorneys’ fees and costs.
                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Rachel Shapiro prays for relief and judgment in favor of
  herself and the Class as follows:
         A.     Injunctive relief prohibiting such violations of the TCPA in the future;
         B.     As a result of each of Defendant’s violations of 47 U.S.C. § 227(b)(1), Plaintiff

  seeks for herself and each class member statutory damages of $500.00 (or $1,500.00 for
  any violations committed willfully or knowingly);
         C.     An award of attorneys’ fees and costs to counsel for Plaintiff and the Class;
  and
         D.     An Order certifying this action to be a proper class action pursuant to
  Federal Rule of Civil Procedure 23, establishing an appropriate Class and any Subclasses
  the Court deems appropriate, finding that Plaintiff is a proper representative of the Class,
  and appointing the law firms representing Plaintiff as counsel for the Class.
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                                DEMAND FOR JURY TRIAL

        Plaintiff, on behalf of herself and the Class, hereby demands a trial by jury
  pursuant to Federal Rule of Civil Procedure 38(b) on all claims so triable.
  Dated: April 23, 2019                    Respectfully submitted,

                                           HEDIN HALL LLP
                                           By: /s/ Frank S. Hedin               .
                                                   Frank S. Hedin
                                           Frank S. Hedin (FBN 109698)
                                           1395 Brickell Ave, Suite 900
                                           Miami, Florida 33131
                                           Telephone: (305) 357-2107
                                           Facsimile: (305) 200-8801
                                           E-mail: fhedin@hedinhall.com
                                           Counsel for Plaintiff and Putative Class




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